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12                             UNITED STATES DISTRICT COURT

13                                    DISTRICT OF NEVADA

14   ANTHONY SALAZAR,                                  Case No. 2:19-cv-01870-APG-BNW

15                       Plaintiff,                   DEFENDANT’S MOTION FOR AN
                                                         EXTENSION OF TIME TO
16   v.                                                 RESPOND TO PLAINTIFF’S
                                                     MOTION TO COMPEL DISCOVERY
17   CHAPLAIN CALDERIN,                                       (ECF NO. 43)
                                                           (FIRST REQUEST)
18                       Defendant.

19         Defendant, Julio Calderin (Chaplain Calderin), by and through counsel, Aaron D.

20   Ford, Nevada Attorney General, and Alexander J. Smith, Deputy Attorney General

21   (Attorney Smith), of the State of Nevada, Office of the Attorney General, hereby moves for

22   a two-week extension of time to respond to Plaintiff Anthony Salazar’s (Salazar)

23   October 21, 2020 motion to compel discovery (ECF No. 43).

24         On November 2, 2020, Attorney Smith was assigned this case and over half a dozen

25   others after his colleague Matthew Feeley recently departed the division. After calendaring

26   was completed of all his new cases yesterday afternoon, Attorney Smith discovered that

27   the deadline to respond to Salazar’s motion to compel discovery (ECF No. 43) is today,

28   November 4, 2020.



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1          In order to familiarize himself with the case and to respond adequately and
2    thoroughly (for example, Attorney Smith needs to obtain a declaration from Chaplain
3    Calderin), Chaplain Calderin respectfully moves under Rule 6(b)(1), Federal Rules of Civil
4    Procedure,* for a two-week extension to respond. For the reasons stated above, Chaplain
5    Calderin argues that good cause exists to extend the response deadline, and Salazar will
6    not be prejudiced by this short extension of time.
7          DATED this 4th day of November, 2020.
8                                             AARON D. FORD
                                              Attorney General
9
                                              By: /s/ Alexander J. Smith
10                                               ALEXANDER J. SMITH (Bar No. 15484C)
                                                 Deputy Attorney General
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                                                 Attorneys for Defendant Calderin
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      IT IS SO ORDERED
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      DATED: 4:51 pm, November 06, 2020
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17    BRENDA WEKSLER
      UNITED STATES MAGISTRATE JUDGE
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           * “When an act may or must be done within a specified time, the court may, for good
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     cause, extend the time: (A) with or without motion or notice if the court acts, or if a request
27   is made, before the original time or its extension expires; or (B) on motion made after the
     time has expired if the party failed to act because of excusable neglect.”
28          Because this is not a deadline set in a scheduling order, Chaplain Calderin does not
     address Local Rule 26-1.


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